          Case 3:21-cr-00398-JLS Document 58 Filed 10/13/21 PageID.137 Page 1 of 1




 1

 2

 3

 4
                               UNITED STATES DISTRICT COURT
 5
                             SOUTHERN DISTRICT OF CALIFORNIA
 6

 7                                             )
     UNITED STATES OF AMERICA,                 )   Case No.: 21CR398-JLS
 8                                             )
                                Plaintiff,     )   ORDER GRANTING MOTION TO
 9                                             )   CONTINUE MOTION HEARING/
     v.                                        )   TRIAL SETTING
10                                             )
                                               )
11                                             )
     DAVID AARON EYRE (1), and                 )
12                                             )
     ANTHONY RICHARD PALIOBAGIS (2),           )
13                                             )
                                Defendants.    )
14                                             )
15

16           Pursuant to joint motion and good cause appearing, IT IS HEREBY
17   ORDERED that the Motion Hearing/Trial Setting in this matter will be continued
18   from October 15, 2021 to December 3, 2021 at 1:30 p.m.
19           For the reasons set forth in the joint motion, the Court finds that the ends of
20   justice will be served by granting the requested continuance, and these outweigh the
21   interests of the public and the defendant in a speedy trial. Accordingly, the delay
22   occasioned by this continuance is excludable pursuant to 18 U.S.C. § 3161(h)(7)(A).
23           IT IS SO ORDERED.
24

25   Dated: October 13, 2021
26

27

28
                                              - 1 -
                                              ORDER
